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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                                     :        Case No. 21-CR-206 (EGS)
                                                             :
                   v.                                        :
                                                             :
JONATHAN MELLIS,                                             :
                                                             :
                                   Defendant.                :


              GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION FOR
                   RECONSIDERATION OF PRETRIAL DETENTION

          The United States of America, by and through its attorney, the United States Attorney for

    the District of Columbia, respectfully opposes the defendant’s Motion For Reconsideration of

    Pretrial Detention (hereinafter “Def. Mot.”) (ECF Doc. 27). The United States respectfully

    opposes defendant’s motion; in view of the factors outlined in 18 U.S.C. § 3142(g), there are no

    conditions or combinations of conditions that can effectively ensure the safety of any other

    person and the community and reasonably assure the appearance of the defendant, pursuant to

    18 U.S.C. § 3142(e). Significantly, the defendant, who has waived any issue of his continued

    detention since his arrest on or about February 16, 2021, and he has agreed to be held without

    bond in this case. 1

          For his conduct on January 6, 2021, Mellis is now charged by Indictment with: (1) Civil

    Disorder, in violation of 18 U.S.C. § 231(a)(3); (2) Obstruction of an Official Proceeding, in

    violation of 18 U.S.C. §§ 1512(c)(2) and 2; (3) Assaulting, Resisting, or Impeding Certain

    Officers Using a Dangerous Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b); (4) Entering



1
  However, as this Court may recall, on May 20, 2021, the defendant filed a Motion for Temporary Release to attend
his father’s funeral. See ECF 17. The government filed its opposition, and the Court issued a Minute Order denying
the request on the same day. See ECF 18 and Minute Order dated 5/20/21.
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 and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

 violation of 18 U.S.C. §§ l752(a)(1) and (b)(l)(A); (5) Disorderly and Disruptive Conduct in a

 Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

 §§ 1752(a)(2) and (b)(l)(A); (6) Impeding Ingress and Egress in a Restricted Building or Grounds

 with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ l 752(a)(3) and (b)(l)(A); (7)

 Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous

 Weapon, in violation of 18 U.S.C. §§ l752(a)(4) and (b)(I )(A); (8) Disorderly Conduct in a

 Capitol Building, in violation of 40 U.S.C. §§ 5104(e)(2)(D); (9) Impeding Passage Through the

 Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(E); and (10) Act of Physical

 Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C. § 5104(e)(2)(F).

            Mellis’ Violent Conduct and Assaults on Officers on January 6, 2021

       Defendant Mellis came to Washington D.C. to participate in the violent insurrection against

the government of the United States. Based on the evidence of the defendant’s violent actions and

attacks on law enforcement officers protecting the U.S. Capitol, defendant Mellis willfully and

deliberately used a weapon – large stick/large wooden object - a deadly weapon and used that

weapon to repeatedly strike law enforcement officers in the face, head, neck, and body area.

Additionally, based on a review on the relevant photos and videos of defendant Mellis, he is seen

encouraging other rioters to assault to officers.

       Defendant Mellis’ violent assault occurred in what is called the Lower West Terrace of the

U. S. Capitol Building. The Lower West Terrace, which is a widely recognizable area of the

Capitol Building, is located directly in the front-center of the building, facing the Washington

Monument. The Lower West Terrace is a very visible area of the Capitol Building that, in public

perception, is often used for symbolic or patriotic events, such as presidential inaugurations or the

“Capitol Fourth” concert that is annually held on the Fourth of July. Indeed, on January 6, 2021,
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the Lower West Terrace was undergoing preparation for the inauguration of now-President Biden.

Scaffolding had been erected for the media, and stairs, risers, and other flooring was in place to

create the stage area upon which the inauguration would take place.

        In the center of the Lower West Terrace is an archway with a short set of stairs that leads

to a set of double doors; those doors permit entrance directly into the Capitol Building.2 At around

2:30 p.m., a large group of MPD and USCP officers assembled to protect the Lower West Terrace

entrance from an advancing mob. That specific entrance was the site of some of the heaviest

violence on January 6, 2021, as the mob of rioters, including defendant Mellis, battled with police

officers on-and-off from approximately 2:40 p.m. to 5:15 p.m. Over a period of about two-and-a-

half hours, groups of rioters came in waves and gathered in the archway and tunnel as they

attempted to violently breach the police line to gain entrance into the U.S. Capitol. On multiple

occasions throughout that period, rioters overran the archway and physically battled with police

officers inside the tunnel, directly at the U.S. Capitol entrance. At other times, officers were able

to push the group of rioters out of the tunnel – away from the doors – and out onto the Lower West

Terrace. Despite the police orders to leave the area, defendant Mellis, and others, continued his

assault on the officers in an effort to, at a minimum, to cause serious bodily injury to the officers.

        More broadly, defendant Mellis violently attacked officers while attempting to break

through the center doorway on the Lower West Terrace to gain entrance to the U.S. Capitol

Building. He used physical violence against officers who were protecting the entrance, and his




2 Since January 6, 2021, this area has become colloquially known as “the tunnel.” On January 6, 2021, the stairs
leading from the Capitol doors down to the Lower West Terrace had been covered by a platform so that the tunnel
floor was flush. At the entrance to the tunnel, stairs then led down to the Lower West Terrace itself. In the past,
President-elects, including now-President Biden, walked through the Lower West Terrace entrance doors and the
tunnel, and then down the stairs to the inauguration stage.

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individual participation in the larger mob heightened the overall violence and dangerousness of

the day.

        Indeed, defendant Mellis brought his weapon – large stick/large wooden object - to use to

the U.S. Capitol. Images and video taken at the U.S. Capitol show the mob attacking officers

guarding the doors. Defendant Mellis and others hurl projectiles at the officers and physically

assaulted them, often using weapons like poles, bottles, and in defendant Mellis’ case, a large

stick/large wooden object. Moreover, several officers were dragged into the crowd where they

were stripped of their protective gear and beaten. Others used crowbars and various tools to knock

the windows out of the U.S. Capitol so that unlawful individuals could enter. Defendant Mellis

willfully and deliberately used a large stick/large wooden object - a deadly weapon and used that

weapon to repeatedly strike or stab at law enforcement officers in the face, head, neck, and body

area. In the photos or screen shots of available videos below the Court can see the defendant’s

actions and the brutal attacks on law enforcement officers he inflicted: 3




3
  If needed, the government can provide the Court the corresponding additional videos and photos of the violent
attacks on the officers by the defendant.

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MELLIS (in White Cowboy Hat) Striking Law Enforcement Officers with weapon/stick):




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MELLIS (in White Cowboy Hat)(Striking/Stabbing at Law Enforcement Officers with
weapon/stick):




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MELLIS Assault Image 3 (Striking / Stabbing at Officers with blunt weapon):




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    MELLIS Assault Image 3 (Striking / Stabbing at Officer’s neck):




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                                         ARGUMENT


        There are four factors under Section 3142(g) that the Court should analyze in

 determining whether to detain the defendant pending trial: (1) the nature and circumstances of

 the offense charged; (2) the weight of the evidence against the defendant; (3) his history and

 characteristics; and (4) the nature and seriousness of the danger to any person or the community

 that would be posed by his release. See 18 U.S.C. ' 3142(g). A review and understanding of

 the facts and circumstances in this case require the Court to conclude that there is no condition

 or combination of conditions that would assure the safety of the community. See 18 U.S.C. '

 3142(e)(1).

       Specifically, “[i]n determining whether the release of a defendant would endanger the

community, the court must consider any available information concerning the nature and

circumstances of the offense charged, including whether the offense is a crime of violence or

involves a narcotic drug; the weight of evidence against the person; various personal information

including character, employment, past conduct, and so on; and the nature and seriousness of the

danger to any person or the community that would be posed by the person’s release.” United States

v. Smith, 79 F.3d 1208, 1209 (D.C. Cir. 1996).

                     Nature and Circumstances of the Offenses Charged

       Defendant Mellis’ violent and deliberate participation in the mob’s efforts to break into the

U.S. Capitol Building by assaulting police officers weighs heavily in favor of detention. During

the course of the January 6, 2021, siege of the U.S. Capitol, over 100 law enforcement officers

were assaulted by an enormous mob, which included numerous individuals with weapons –

including this defendant, bulletproof vests, and pepper spray who targeted the officers protecting

the U.S. Capitol. Additionally, the violent crowd encouraged others in the mob to work together


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to overwhelm law enforcement and gain unlawful entry into the U.S. Capitol. In the Lower West

Terrace tunnel that day, USCP and MPD officers worked for almost three hours defending the

U.S. Capitol. Officers spent much of that time under physical attack by a violent crowd – including

by defendant Mellis – with a total disregard for the officers’ safety and with an intent to harm the

officers by repeatedly assaulting officers at the front of the police line in an effort to break through

the line and into the U.S. Capitol Building. The officers in that line were in full uniform with clear

and visible markings identifying themselves as officers.

        Defendant’s argument that “Mr. Mellis did not intend to hurt anyone on January 6. At one

point during the events of that day, Officer Michael Fanone was attempting to navigate the huge

crowd of protesters at the Capitol. . . . Mr. Mellis, who was positioned approximately 15 feet away,

can be heard and seen yelling to the crowd to not hurt Officer Fanone. He repeatedly shouts at the

crowd to not hurt the officer, to ‘show him how merciful we are,’ and ‘keep him safe,’” (see Def.

Motion ECF #27 at 4), is simply unpersuasive, unconvincing, and an affront to all the heroic

officers – men and women – who risked their lives to protect our democracy.

        It is without question that defendant Mellis chose to unlawfully enter the U.S. Capitol

Grounds on January 6, 2021, for the stated purpose of preventing Congress from completing its

constitutional duty of certifying the results of a lawful election. He selected one of the most visible

and violent locations in which to do so. Defendant Mellis violently used a large stick/large wooden

object to attack officers to cause harm to them and to hurt them with each blow he inflicted. His

violent assault on the officers was persistent and unrelenting. Body-worn camera videos and other

videos capturing his actions show defendant Mellis willfully struck law enforcement officers again

and again in an effort to harm them.

                          Weight of the Evidence against the Defendant

         The second factor to be considered, the weight of the evidence, also weighs in favor of
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    detention. The evidence against defendant Mellis is very strong and compelling. Defendant

    Mellis does not question that fact of his identity in this case. Significantly, defendant Mellis

    was captured in multiple BWC and open-source videos that clearly showed him violently

    attacking officers who were defending the U.S. Capitol that day. Defendant Mellis’ face and

    his violent actions are visible in multiple videos, as are his weapon – a large stick/large wooden

    object, white cowboy hat, and jacket that he wore on January 6, 2021. The government

    respectfully avers that there is not a doubt of the defendant’s violent assaults on officers as this

    Court views the evidence and the above photos.

                                Defendant’s History and Characteristics

          The United States submits that defendant Mellis’ history and characteristics demonstrate

that he would be a danger to the community if released. According to the previously prepared Pre-

Plea Calculation prepared by U.S. Probation Officer Carmen I. Newton, the defendant has the

following convictions: 4

    Date of Arrest    Conviction/Court          Date Sentence               Guideline             Points
                                                Imposed/Disposition
    01/03/2006        Assault and Battery       07/14/2006: 90 days         4A1.2(e)(3)           0
    (Age 19)          - Family Member           jail, all suspended; 2
                      Juvenile and              years unsupervised
                      Domestic                  probation
                      Relations Court,
                      Williamsburg, VA
                      (JA0123340100)


4
  Defendant’s Traffic Infractions as outlined by USPO Newton:
According to Virginia’s Court System (automated), the defendant was convicted of the following traffic infractions:
on 11/09/2012, Operate Unlicensed Motor Vehicle (GT1206762400, Virginia Beach, VA), for which $91 fine/costs
were imposed on 11/28/2012: on 12/10/2013, Improper Turn (GT1307909600, Henrico County, VA), for which $151
fine/costs were imposed on 02/04/2014; on 12/03/2014, Fail to Obey Traffic Signal (GT1402513100, Fredericksburg,
VA), for which $196 fine/costs were imposed on 12/17/2014; on 03/12/2015, by the Speeding 55/35 (GT1500500400,
Stafford County, VA), for which $61 in costs were imposed on 05/22/2015; on 11/25/2015, Fail to Obey Sign
(GT1600040200, Stafford County, VA), for which $195 fine/costs were imposed on 01/14/2016; on 09/17/2016,
Speeding 41/25 (GT1601778900, Stafford County, VA), for which $91 fine/costs were imposed on 10/26/2016; and,
on 09/14/2017, Expired Registration (GT1705117800, Fredericksburg, VA), for which $66 costs were imposed on
11/08/2017.

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01/20/2007   Assault               04/20/2007: 12         4A1.2(e)(3)   0
(Age 20)     Juvenile and          months jail, 10
             Domestic              months suspended
             Relations Court,
             Williamsburg, VA
             (JA0123340500)
01/26/2007   Drinking Operating    03/23/2007: As to      4A1.2(e)(3)   0
(Age 20)     Vehicle               both charges, pled
             (CR07015578-00)       guilty, $810
             Unlawful              fines/costs, license
             Possession of         suspended 6 months
             Alcohol
             (CR07015578-01)
             Circuit Court,
             Williamsburg and
             James City County,
             VA
04/07/2007   Assault and Battery   10/22/2017: Pled       4A1.2(e)(3)   0
(Age 20)     Circuit Court,        guilty, time served,
             Williamsburg and      $252 costs and $280
             James City County,    restitution
             VA
             (CR0801581900)
02/08/2008   Conspire to           03/05/2009: Pled       4A1.1(a)      3
(Age 21)     Manufacture/Sell      guilty 03/12/2009:
             Methamphetamine       20 years jail, 10
             Circuit Court,        suspended; indefinite
             Williamsburg and      probation
             James City County,    10/19/2017:
             VA                    Released to
             (CR0801689700)        probation
                                   03/12/2019: Early
                                   termination of
                                   probation
02/12/2008   Assault: On Family    08/15/2008: 90 days 4A1.2(e)(3)      0
(Age 21)     Member                jail, all suspended; 2
             Juvenile and          years unsupervised
             Domestic              probation
             Relations Court,      04/10/2009:
             Williamsburg, VA      Probation revoked, 4
             (JA0123341000)        months jail
03/05/2008   Ct. 2: Uttering       01/21/2009: Pled       4A1.2(e)(3)   0
(Age 21)     Circuit Court,        guilty
             Williamsburg and      03/16/2009: 5 years
             James City County,    jail, all suspended;
             VA                    indefinite probation

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                   (CR0801705100)         – 10 years; costs
                                          $925
 05/01/2008        Identity Theft         08/27/2008: 30 days       4A1.2(e)(3)       0
 (Age 21)          General District       custody,
                   Court,                 unsupervised
                   Winchester, VA         probation
                   (GC08002144-00)
 07/08/2008        Petit Larceny          12/29/2008: Pled          4A1.2(e)(3)       0
 (Age 21)          Circuit Court, York    guilty, 12 months
                   County, VA             jail, all suspended, to
                   (CR0800541601)         run consecutively to
                                          any other sentence
                                          imposed, 3 years
                                          good behavior; 1
                                          year probation


       The United States submits that defendant Mellis’ conduct on January 6, 2021 demonstrated

an utter disregard for the law and the legitimate functions of government, providing clear and

convincing evidence that he is unwilling to follow lawful orders or defer to the legitimate authority

of the government. When defendant Mellis assaulted law enforcement officers in his attempt to

storm the U.S. Capitol, he did so in the presence of hundreds of law enforcement officers who

were working to protect both the constitutionally mandated Certification proceeding and the

members of Congress duty-bound to hold that proceeding. Simply stated, if defendant Mellis is

unwilling to obey orders while in full view of law enforcement, or to conform his behavior to the

law even when he disagrees with it, it is unlikely that he would adhere to this Court’s directions

and release orders. Significantly, as outlined and calculated by USPO Newton, (based upon a total

offense level of 24 and a criminal history category of III, the guideline imprisonment range is 63

months to 78 months), the defendant is facing a significant period of incarceration if convicted of

the charges which reinforces that the defendant is a danger and flight risk if released.




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                                     Danger to the Community

       The fourth factor, the nature and seriousness of the danger to any person or the community

posed by a defendant’s release, also weighs in favor of defendant Mellis’ detention. Defendant

Mellis’ dangerousness is illustrated by his highly-public assault of officers at the U.S. Capitol

Building. See Chestman, at *30 (“Nearly as significant is defendant’s use of force to advance

towards the Capitol and his use of words to lead and guide the mob in obstructing the police and

pushing against police barriers”). Consequently, the United States is gravely troubled and very

concerned by the nature of the allegations against him, and his potential threat to others if released.

       Based on this evidence, the defendant’s actions were violently perpetrated to cause harm

to law enforcement officers who were protecting our seat of democracy. Given the above

assessment of all four relevant factors, there is clear and convincing evidence that there are no

conditions or combinations of conditions which can effectively ensure the safety of any other

person and the community and reasonably assure the appearance of the defendant, pursuant to 18

U.S.C. § 3142(e).

                         Defendant’s Statements in his Motion are Unfounded

       In his motion for reconsideration defendant Mellis’ attempts, without any legal or factual

support, to cast himself as a modern-day protector of others is simply unfounded, and, the

government respectfully avers, is insulting to all the heroic actions of law enforcement officers

who were protecting the U.S. Capitol on January 6, 2021. Indeed, it is an offense to all the men

and women in law enforcement who were protecting the U.S. Capitol that the defendant now

suggests that, “[his] actions were entirely in response to, and in the context of, witnessing the plight

of Rosanne Boyland. . . . Ms. Boyland can be seen lying on the ground appearing to be

unconscious. . . . Ms. Boyland can be seen again lying on the ground, apparently unconscious, as


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civilians, not police, attempt to render aid.” See Def. Mot. ECF #27 at 5 – (defendant’s footnotes

not included herein). Also, the defendant falsely claims that after he witnessed the alleged events

above that he “comes into the picture – having just witnessed t he trampling and death of Ms.

Boyland. He is handed a stick and for approximately ten (10) seconds, uses it to defend others

from what he perceived to be an imminent threat.” See Def. Mot. ECF #27 at 6 – (defendant’s

footnotes not included herein). Simply stated, these assertions by the defendant belies the true facts

of this case and the defendant’s violent actions. The evidence will show that the defendant using a

large stick/large wooden object to strike law enforcement officers was a use of a deadly weapon

which was unprovoked, illegal, and unjustified in all aspects. Based on this evidence, the

defendant’s actions were violently perpetrated to cause harm to law enforcement officers who were

protecting our seat of democracy.

       In addition, defendant Mellis mentions strong family support and community ties. See Def.

Mot. ECF# 27 at 2 and 3. However, regarding family or “community ties,” the framers of the Bail

Reform Act thought differently. The Committee also noted with respect to the fact of community

ties that it is aware of the growing evidence that the presence of this factor does not necessarily

reflect a likelihood of appearance and has no correlation with the question of the safety of the

community. S.Rep. No. 225, 3207. Nor is it clear why his family support now would stop the

defendant from committing other violent acts as described above, nor will community ties keep

him from doing so again. Therefore, these arguments are wholly without merit and are not

supported by the facts and legal considerations found in the instant matter.

       Counsel for the defendant next argues that defendants in other cases (specifically the

government will address a few cases cited by the defendant) – United States v. Richard Barnett,

1:21CR38-CRC, United States v. Robert Sanford, 1:21CR[86]-[PLF], and United States v. David



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Alan Blair, 1:21CR86-CRC – were released by other judges in this courthouse is misleading, at

best or flat-out wrong, in his suggestion that those defendants were released despite allegedly

engaging in conduct far more culpable and violent than Mr. Mellis and that “[t]o continue Mr.

Mellis’ incarceration would also create inconsistencies with other January 6th defendants accused

of arguably greater misconduct who have been granted release” See Def. Mot. ECF# 27 at 7-10.

Fundamentally, none of the above cases that the defendant cites 5 are of the violent, aggressive,

or of a persistent nature to harm law enforcement officers on January 6, 2021, compared to what

this defendant did on that day. In Barnett, that defendant entered the Capitol Building armed with

a stun gun, sat at Speaker Nancy Pelosi’s desk, and posed for photos; in Sanford, that defendant

was alleged to have hurled a fire extinguisher into a crowd of police officers, and in Blair, that

defendant brandished a lacrosse stick which served as a pole for a large confederate flag. Simply

put, none of the cases cited by the defendant comes anywhere near the violent, persistent, and

continued assaults on law enforcements officers that this defendant committed.

        Similar to this defendant’s actions in this case, the government will highlight just a few

cases where defendants physically and violently assaulted law enforcement officers on January

6, 2021, and those defendants – like defendant Mellis – are held pending trial. In United States v.

Mark Kenny Ponder, 21 CR 259-TSC, the defendant has been held without bond because he

struck an officer while wielding long thin pole and struck a second and third officer with a thicker

patriotic red-white-blue pole. In United States v. Thomas Sibick, 21 CR 291-ABJ, the defendant

has been held without bond because he joined in the assault on a police officer and stole that

officer’s badge and police radio. In United States v. Daniel Rodriguez, 21 CR 246-ABJ, the



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  Undersigned counsel for the government is aware that the Court in United States v. Michael Foy, 21-cr-108 (TSC),
the defendant was released pretrial over strong objections from counsel – Foy, who had zero criminal history points,
was captured on video striking officers with a hockey stick.

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defendant has been detained prior to trial because he tased a police officer. In United States v.

Kyle Fitzsimons, 21 CR 158 (KBJ), the defendant has been held without bond because he pulled

officers by the body parts in attempt to pull them into the crowd. The defendant in Fitzsimons

also pulled the gas mask off another officer, which was then followed by another individual

spraying that officer in the face. In United States v. Joseph Lino Padilla, 21 CR 214-JDB, the

defendant has been held without bond because he, along with other rioters, used a large sign with

a metal frame as a battering ram to push back law enforcement, led other rioters to push,

headbutted law enforcement, threw large metal barricades onto officers to forcibly push them

back, and hurled a flagpole at officers who were being attacked by rioters.

       Importantly, defendant Mellis’ conduct did not stop at his own individual decision to

engage in physical violence. It extended to his active encouragement of other rioters to continue

to try to break through the police line and into the building. Defendant Mellis’ willing and repeated

participation in violence against police officers protecting a lawful proceeding of Congress, for

which he is charged with multiple felonies – including crime of violence – weighs heavily in favor

of continued detention. Not only was his individual conduct and encouragement to others violent

and dangerous, but his actions heightened the overall violence and dangerousness of the day. As

stated by Chief Judge Beryl A. Howell, “[t]he actions of this violent mob, particularly those

members who breached police lines and gained entry to the Capitol, are reprehensible as offenses

against morality, civic virtue, and the rule of law.” See United States v. Chestman, 21-mj-218

(BAH), ECF No. 23, at *13, 16 (D.D.C. Feb. 26, 2021) (“Grave concerns are implicated if a

defendant actively threatened or confronted federal officials or law enforcement, or otherwise

promoted or celebrated efforts to disrupt the certification”). Here, the defendant violently attacked

law enforcement officers who, with their heroic efforts, were protecting the U.S. Capitol and all



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who were inside. Significantly, in a very similar case, this Court denied a defendant’s motion for

pre-trial release. See United States v. Jack Wade Whitton, 2021 WL 1546931, this Court held

that “Mr. Whitton's and his co-defendant's conduct on January 6, 2021, was among some of

the most violent conduct that took place that day, and the Court cannot ignore that reality when

evaluating his character and the potential threat he continues to pose to the community. Nor

has the D.C. Circuit said that Court must turn a blind eye to Mr. Whitton's violent conduct when

determining whether he poses a danger that warrants pretrial detention to safeguard the

community.” Id.

        Finally, the defendant cites a recent U.S. Court of Appeals for the D.C. Circuit decision,

 Munchel v. United States, 991 F.3d 1273 (D.C. Cir. 2021), in support of the defendant release

 motion. The defendant argues that the defendant “was in the District of Columbia on January

 6th to attend a peaceful, political event led by the then-President of the United States. Mr. Mellis

 does not pose a particular danger because he will not have the opportunity, capability, or

 resources to be a threat to democracy or to the Capitol Police. His limited participation was fully

 bounded by the scope of the January 6th events, and more particularly, by witnessing the death

 of Ms. Boyland at what hebelieved to be the hands of police.” See Def. Mot. ECF #27 at 10. In

 that regard, this case presents a very different set of circumstances than were present in Munchel,

 and its reasoning and analysis support a finding of detention here. In Munchel, the Circuit Court

 observed that the defendants did not engage in any violence and were not involved in planning

 or coordinating. 991 F.3d at 1284. In contrast, this defendant violently assaulted several law

 enforcement officers on numerous occasions with a large stick numerous times with an intent

 to harm and physically injure the officers. The facts and principles outlined in Munchel clearly

 supports continued detention of this defendant because he is a danger to the community if



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 released and that danger has been shown in this case. Indeed, the defendant’s danger is the result

 of his willingness to strike a uniformed police officer in the head, neck, and torso area with a

 large stick that he used as a weapon. Such danger is a function of the defendant’s individual

 characteristics, not the larger group.

                                          CONCLUSION

       These above-noted facts and circumstances, in consideration of the factors enumerated in

18 U.S.C. § 3142(g), demonstrate that defendant Mellis is a risk of flight and he faces a lengthy

period of incarceration upon conviction and a danger to the community. Accordingly, the United

States requests that the defendant be detained without bond pending trial.


                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                              By: /s/ Emory V. Cole
                                              EMORY V. COLE
                                              Assistant United States Attorney
                                              PA. Bar Number 49136
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-7692
                                              Emory.Cole@usdoj.gov




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